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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL

Case No.      CV 14-2910-MWF(MRWx)                                      Dated: January 23, 2017

Title:        In Re OSI Systems, Inc., Derivative Litigation

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

              Rita Sanchez                                    Nichole Forrest
              Courtroom Deputy                                Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                      ATTORNEYS PRESENT FOR DEFENDANTS:

              John T. Jasnoch                                James H. Moon
              Kip B. Shuman
              Peter G. Safirstein - Telephonic

PROCEEDINGS:              MOTION FOR PRELIMINARY APPROVAL OF
                          SETTLEMENT [90]

      The Courtroom Deputy Clerk distributes the Court's tentative ruling prior to the case
being called.

      Case called, and counsel make their appearance. Court submit on the tentative ruling.
The hearing for the final approval is set for May 1, 2017 at 10:00 a.m. An order will issue.

         IT IS SO ORDERED.




MINUTES FORM 90                                                                 Initials of Deputy Clerk   rs
CIVIL - GEN                                      -1-                                           :02
